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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     (Admitted pro hac vice)
     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC, 1                                       Case No.: 23-12825 (MBK)
                                Debtor.                          Judge: Michael B. Kaplan
     LTL MANAGEMENT LLC,

                                Plaintiff,
                                                                 Adv. No.: 23-01092 (MBK)
     v.

     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE
     DOES 1 1000,
                       Defendants.

                        NOTICE OF AMENDED 2 AGENDA OF MATTERS
                    SCHEDULED FOR HEARING ON JUNE 13, 2023 AT 10:00 A.M.

                            Parties are directed to https://www.njb.uscourts.gov/LTL
                          for appearing via Zoom or in-person, or observing via Zoom


 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
 2
              Amended agenda items appear in bold.




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 UNCONTESTED MATTERS GOING FORWARD IN THE BASE CASE:

 1.      Debtor’s Motion for Entry of an Order Sealing the Exhibits to the Supplemental
         Declaration of John K. Kim Regarding Plan Support Agreements [Dkt. 397].

         Status: This matter is going forward.

         Objection Deadline: June 6, 2023

         Related Documents:

         A.       John K. Kim’s Supplemental Declaration Regarding Plan Support Agreements
                  [Dkt. 396].

 2.      United States Trustee’s Motion to Compel Compliance With Fed. R. Bankr. P. 2019
         [Dkt. 467].

         Status: This matter is going forward.

         Objection Deadline: June 6, 2023.

         Related Documents: None.

 3.      Ad Hoc Committee of Supporting Counsel’s Motion to File Under Seal and Redact
         Certain Information in Verified Statement of Paul Hastings LLP, Cole Schotz P.C., and
         Parkins & Rubio LLP Pursuant to Bankruptcy Rule 2019 [Dkt. 471].

         Status: This matter is going forward.

         Objection Deadline: June 6, 2023

         Related Documents:

         A.       Verified Statement of Paul Hastings LLP, Cole Schotz P.C., and Parkins &
                  Rubio LLP Pursuant to Bankruptcy Rule 2019 [Dkt. 470].

 CONTESTED MATTERS GOING FORWARD IN THE BASE CASE:

 4.      Debtor’s Motion for an Order (I) Scheduling Hearing on Approval of Disclosure
         Statement; (II) Establishing Disclosure Statement Objection Deadline; and (III) Granting
         Related Relief [Dkt. 240] (the “Disclosure Statement Scheduling Motion”).

         Status: This matter is going forward.

         Objection Deadline: June 6, 2023

         Related Documents:

         A.       Application for Order Shortening Time [Dkt. 241].

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         B.       The Official Committee of Talc Claimants’ Objection to the Application for
                  Order Shortening Time [Dkt. 254].

         C.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Dkt. 272].

         D.       The Official Committee of Talc Claimants’ Cross-Motion for Entry of an Order
                  (I) Temporarily Suspending the Debtor’s Chapter 11 Case Pursuant to 11
                  U.S.C.§§ 105 and 305, and (II) Granting Related Relief [Dkt. 414]
                  (the “Committee Motion to Suspend”).

         E.       Ad Hoc Committee of Supporting Counsel’s Objection to the Committee Motion
                  to Suspend [Dkt. 497].

         F.       Ad Hoc Committee of Supporting Counsel’s Reply and Statement in Support of
                  the Disclosure Statement Scheduling Motion [Dkt. 498].

         G.       Debtor’s Omnibus Reply in Support of the Disclosure Statement Scheduling
                  Motion [Dkt. 500].

         H.       Debtor’s Objection to the Committee Motion to Suspend [Dkt. 501].

         I.       MRHFM’s Joinder to the Committee Motion to Suspend [Dkt. 503].

         J.       The Official Committee of Talc Claimants’ Reply in Support of the Committee
                  Motion to Suspend [Dkt. 517].

         K.       Debtor’s Disclosure Statement for Chapter 11 Plan of Reorganization [Dkt. 526].

         L.       Order Denying Committee Motion to Suspend [Dkt. 543].

         Objections:

         M.       The Official Committee of Talc Claimants’ Objection to the Disclosure Statement
                  Scheduling Motion [Dkt. 413].

         N.       Arnold & Itkin LLP’s Objection to the Disclosure Statement Scheduling Motion
                  [Dkt. 443].

         O.       United States Trustee’s Objection to the Disclosure Statement Scheduling Motion
                  [Dkt. 448].

         P.       MRHFM’s Objection to the Disclosure Statement Scheduling Motion [Dkt. 453].




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 5.      Debtor’s Motion for an Order Authorizing It to Enter Into an Expense Reimbursement
         Agreement With Ad Hoc Committee of Supporting Counsel [Dkt. 575]
         (the “Reimbursement Motion”).

         Status: This matter is going forward.

         Objection Deadline: June 6, 2023

         Related Documents:

         A.       Ad Hoc Committee of Supporting Counsel’s Response to the Objections to the
                  Reimbursement Motion [Dkt. 744].

         B.       Debtor’s Reply in Support of the Reimbursement Motion [Dkt. 745].

         Objections:

         C.       The Official Committee of Talc Claimants’ Objection to the Reimbursement
                  Motion [Dkt. 707].

         D.       MRHM’s Objection to the Reimbursement Motion [Dkt. 711].

         E.       United States Trustee’s Objection to the Reimbursement Motion [Dkt. 713].

 6.      The Official Committee of Talc Claimants’ Motion to Terminate the Debtor’s Exclusive
         Period Pursuant to 11 U.S.C. § 1121(d)(1) [Dkt. 702] (the “Motion to Terminate”).

         Status: This matter is going forward.

         Objection Deadline: At hearing pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice [Dkt. 704].

         Related Documents:

         A.       Application for Order Shortening Time and Certain Other Relief [Dkt. 703].

         B.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Dkt. 704].

         C.       The Official Committee of Talc Claimants’ Reply in Support of the Motion to
                  Terminate [Dkt. 759].

         Objections:

         D.       Debtor’s Objection to the Motion to Terminate [Dkt. 753].

         E.       Ad Hoc Committee of Supporting Counsel’s Objection to the Motion to
                  Terminate [Dkt. 758].


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 CONTESTED MATTERS GOING FORWARD IN THE ADVERSARY PROCEEDING:

 7.      Debtor’s Motion for a Bridge Order Confirming the Automatic Stay Applies to Certain
         Actions Asserted Against Affiliates or Temporarily Extending the Stay and Preliminary
         Injunction to Such Actions Pending a Final Hearing on the Requested Relief
         [Adv. Dkt. 147] (the “Motion for a Bridge Order”).

         Status: This matter is going forward except as to the relief requested with respect to
         Janssen Pharmaceuticals, Inc. and Kenvue Inc. in connection with actions involving
         Cohen, Placitella & Roth, P.C. (“CPR”), which will be heard on June 22, 2023.

         Related Documents:

         A.       Application for Order Shortening Time [Adv. Dkt. 148].

         B.       Order Granting the Application to Shorten Time [Adv. Dkt. 149].

         C.       CPR Objection to Order Granting Application to Shorten Time [Adv. Dkt. 151].

         D.       The Official Committee of Talc Claimants’ Objection to Order Granting
                  Application to Shorten Time [Adv. Dkt. 152].

         E.       Debtor’s Letter to the Court in Response to Objections to Order Granting the
                  Application to Shorten Time [Adv. Dkt. 153].

         F.       Debtor’s and CPR’s Joint Letter to Chief Judge Kaplan Regarding Agreed
                  Briefing and Hearing Schedule for Certain Matters Involving Cohen, Placitella &
                  Roth, P.C. [Adv. Dkt. 171] (the “Joint Letter”).

         Objections:

         G.       The Official Committee of Talc Claimants’ Objection to the Motion for a Bridge
                  Order [Adv. Dkt. 157].

         H.       MRHFM’s Objection to the Motion for a Bridge Order [Adv. Dkt. 158].

 8.      Debtor’s Motion (I) to Extend and Modify the Preliminary Injunction Order and (II) for
         Confirmation that Successor Liability Actions Are Subject to the Automatic Stay [Adv.
         Dkt. 163] (the “Motion to Extend”).

         Status: This matter is going forward except as to the relief requested with respect to
         Janssen Pharmaceuticals, Inc. and Kenvue Inc. in connection with actions involving
         CPR, which will be heard on June 22, 2023.



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         Objection Deadline: June 9, 2023 at 5:00 p.m. The deadline for CPR to object to the
         relief requested with respect to Janssen Pharmaceuticals, Inc. and Kenvue Inc. in
         connection with actions involving CPR is extended to June 14, 2023, subject to the terms
         of an agreement between the Debtor and CPR.

         Related Documents:

         A.       Application for Order Shortening Time [Adv. Dkt. 164].

         B.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Adv. Dkt. 165].

         C.       CPR’s Letter to the Court in Response to the Order Shortening Time Period for
                  Notice, Setting Hearing and Limiting Notice [Adv. Dkt. 166].

         D.       Debtor’s Letter to the Court in Response to CPR’s Letter in Response to the Court
                  Order Granting the Application to Shorten Time [Adv. Dkt. 167].

         E.       The Joint Letter.

         F.       Ad Hoc Committee of Supporting Counsel’s Statement in Support of the
                  Motion to Extend [Adv. Dkt. 175].

         Objections:

         G.       The Official Committee of Talc Claimants’ Objection to the Motion to Extend
                  [Adv. Dkt. 169].

         H.       The United States Trustee’s Objection to the Motion to Extend [Adv. Dkt. 170].

         I.       Creditors, Marlin & Georgia Eagles’ Informational Brief Regarding Its
                  Upcoming July 14, 2023, Talc Trial Involving J&J [Adv. Dkt. 174].




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  Dated: June 12, 2023                         WOLLMUTH MAHER & DEUTSCH LLP

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